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     IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO



 Gary L. Merchant,

               Plaintiff

                                                       Case   No. L:1,7-cv-00524-BLW

 Corizon, L.L.C., John Migliori, M.D.,                 MEMORANDUM IN OPPOSITION TO
 David Agler, M.D., Idaho Department of                MOTION TO DISMISS ALL CLAIMS
 Corrections, Warden Keith Yordy, and                  AGAINST THE STATE DEFENDANTS
 John/Jane Does I-X, whose true identities             AND IN SUPPORT OF MOTION TO
 are presently unknown,                                AMEND THE COMPLAINT

               Defendants




                                         r.)        INTRODUCTION

         The instant case is a correctional medicine case which involves the above-the-knee

amputation of Plaintifls left     leg. Generally      stated, the allegations against Defendants, among

other things, are that Defendants failed to properly diagnose and/or treat a severe infection which

Plaintiff developed in his left leg and further delayed providing appropriate, medical care to

Plaintiff for almost three (3) weeks,    as    unqualified, medical personnel were attending to Plaintiff.

In order to obtain appropriate, medical care, Plaintiff was required to swallow a small razorblade



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from   a handheld   pencil sharpener to secure his transport to a hospital away from the correctional

facility. The operative complaint in this action sets forth    causes   of action for a violation of 42

U.S.C. $1983, medical negligence/malpractice, and negligent retention training, and supervision.

           With the instant motion, Defendants Idaho Department of Correction ("IDOC")             and

Warden Keith Yordy (i.e. the State Defendants) seek to dismiss with prejudice all claims pled

against them. Plaintiff does not oppose the instant motion relative to IDOC's and Warden Yordy's

dismissal from this action regarding Plaintiff s claims of medical negligence/malpractice. Plaintiff

further does not oppose the instant motion relative to the dismissal of IDOC as a party-defendant

in the $ 1983 claim.

           However, for the reasons set forth below, the instant motion should be denied relative to

Warden Yordy, in individual capacity, because Plaintiff s First Amended Complaint and Demand

for Jury Trial ("FAC') (Dkt. 4) sufficiently   pleads a $1983 claim against Defendant Yordy, in his

individual capacity, for violating 42 U.S.C. $1983. But if this Court finds that'the FAC is facially

deficient relative to the $1983 claim against Warden Yordy, in his individual capacity, then

Plaintiff moves this Court for leave to amend the operative complaint to allege additional facts

which demonstrate Defendant Yordy, in his individual capacity, should be found liable under

$ 1 e83.


           Additionally, with this filing, Plaintiff moves this Court to amend the FAC to allow him to

name Warden Yordy, in his       official and individual capacities, and IDOC   as a party-defendants   in

the third cause of action in the FAC (i.e. negligent retention, training, and supervision). The FAC

only asserts this claim against the Defendants Corizon, and Plaintiff seeks to assert this claim

against Warden Yordy and IDOC as well.




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                          r.)     ARGUMENTS                 AUTHORITIES

   A.) Legal standards for a motion to dismiss under F.R.C.P. 12(bX6).

       The purpose of a Rule 12(b)(6) motion to dismiss for failure to state a claim is to test the

legal sufficiency of a complaint. Navaro v. Block,250 F.3d 729,732 (9th Cir. 2001). The issue is

not whether a plaintiff will ultimately prevail but whether the claimant is entitled to offer evidence

to support the claims. Gilliganv. Jamco Dev. Corp., 108 F.3d 246,249 (9th Cir. 1997) (quotations

omitted).To avoid aRule l2(bx6)dismissal, a complaint does not need detailed factual

allegations, but   it must plead "enough    facts to state a claim to relief that is plausible on its

face." Clemens v. Daimler Chrysler Corp.,534 F.3d 1017,1022 (9th Cir. 2008) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)); Ashuoft v'

Iqbal,556 U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (stating that a "claim          has


facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant      is liable for the misconduct alleged"). Even though      a


complaint does not need "detailed factual allegations" to pass Rule 12(b)(6) muster, the factual

allegations "must be enough to raise a right to relief above the speculative level         . . . on the

assumption that all the allegations in the complaint are true (even     if doubtful in fact)." Twombly,

550 U.S. at 555. These holdings have collectively become recognized as the lqbal-Twombly

standard of pleading.

        The determination of whether a complaint satisfies the plausibility standard is a'ocontext-

specific task that requires the reviewing court to draw on its judicial experience and common

sense." Iqbal,556 U.S. at 679. "A pleading that offers 'labels and conclusions' or'a formulaic

recitation of the elements of a cause of action will not do." Iqbal, 556 U.S. at 678. "Nor does a

complaint suffice   if it tenders 'naked assertionfs]'   devoid of 'further factual enhancements."' Id.


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(quoting Twombly,550 U.S. at 557). However, since Iqbal and Twomb,/y, numerous courts have

held that facts may be pleaded on information and belief        -   especially where the underlying

evidence is peculiarly within the defendant's possession. See, e.g., Arista Records, LLC v. Doe 3,

604 F.3d    ll0,I20   (2nd Cir.2010); Boykin v. KeyCorp, 521 F.3d 202,215 (2d. Cir.2008); Waldo

v. Eli Lilly   & Co.,2013    U.S. Dist. LEXIS 145772 (8.D. Cal., October 8, 2013); Marolda         v.


Symantec Corp., 672 F. Supp. 2d 992,999 (N.D. Cal. 2009); Dixie v. Virga, 2015 U.S. LEXIS

11429 (E.D. Cal., Jan. 30, 2015); GCIU-Employer ReL Fund v. Quad/Graphics, Inc., 2016 U.S.

Dist. LEXIS 69396 (C.D.Cal, May26,2016).



    B.)      Plaintiff has pled sufficient facts to establish a legally cognizable claim against
             Warden Yordy, in his individual capacityo for violating 42 U.S.C. $1983.

       The proper pleading of a g1983 claim requires a plaintiff to assert that an individual

defendant, while acting under color of state law, deprived him or her of certain rights, privileges,

and/or immunities which were secured by the U.S. Constitution or other laws and that such

deprivation caused damages. Plaintiff has done that. FAC at tltf4O and 41. Throughout the FAC,

Plaintiff has specifically pled, when certain allegations or avertnents were being asserted against

all Defendants, the State Defendants, or only against the Corizon Defendants. With that distinction

of the parties and recognizingthat a complaint is to be a short, concise statement of the allegations

supporting a claim, as contemplated      in F.R.C.P. 8, Plaintiff submits that there are sufficient

allegations contained in the FAC to plead a $1983 claim against Warden Yordy in his individual

capacily.

        Plaintiff has also alleged in the FAC    thaL Defendants,    collectively and thus including

Warden Yordy in his individual capacity, exhibited deliberate indifference to Plaintiff s medical

needs. FAC atfltl25 and 28. Plaintiff has alleged that his constitutional rights and privileges (i.e.

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Eight Amendment guarantee against cruel and unusual punishment) were violated due to the

inadequate provision of medical care. FAC at fl33. Plaintiff has further alleged that Defendants,

collectively and thus including Warden Yordy in his individual capacity,had      a   policy and custom

of delaying and denying medical treatment to inmates in order to save costs and had a policy and

custom of delivering substandard, medical care to inmates thus subjecting inmates to cruel and

unusual punishment prohibited by the Eight Amendment. FAC at 1134. The FAC also clearly

asserts that Defendants,   collectively and thus including Warden Yordy in his individual capacity,

had a custom of not hiring qualified, medical staff which resulted in PlaintifPs medical needs not

being addressed which amounted to deliberate indifference to his medical needs as prohibited by

the Eight Amendment. FAC at fl35. Plaintiff submits that these allegations are sufficient to state

a $1983 claim upon which relief can be granted and meet the notice pleading standard even since

the advent of the lqbal-Twombly standard.

       It is clear from the allegations of the FAC that Warden Yordy has been sued in his
individual capacity. FAC      atll0.   Plaintiff has set forth sufficient allegations to plead a $1983

claim against Warden Yordy in his individual capacily. Therefore, the instant motion to dismiss

for failure to state a claim should be denied with respect to the $1983 claim which has been pled

in the FAC against Warden Yordy in his individual capacity.



    C.)    Conversely, if this Court finds the FAC to be insufficient in pleading a $1983 claim
           against Warden Yordy in his individual capacity, Plaintiff moves this Court for
           leave to amend the complaint to allege further facts to support this civil rights
           claim.

       Plaintiff submits that the FAC cunently sets forth sufficient allegations against Warden

Yordy, in his individual capacity, to withstand the instant 12(bX6) motion. However, should this



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Court disagree, then Plaintiff seeks leave to amend the FAC to allege additional facts to support

his $1983 claim against Warden Yordy.

         Liberality of amendments is the default parameter for amending pleadings prior to the

deadline to amend pleadings and join parties. In the case at bar, that deadline is not until August

27,2018. Thus the liberal amendment of pleadings standard is applicable. As discussed in C.F.

v. Capistrano Unified,656 F.Supp.2d 1190,1192 (C.D.CaL2009), there is a policy of favoring a

liberality of amendments pursuant to F.R.C.P. 15. Such amendments should be allowed and freely

granted, when justice so requires. F.R.C.P. l5(a)(2). In the case sub judice, justice so requires.

         Under F.R.C.P. 15, after a responsive pleading has been served, "[A] party may amend its

pleading only with the opposing party's written consent or the court's leave. The court should

freely give leave when justice so requires." F.R.C.P. 15(a). In general, Rule 15's policy favoring

amendments to pleadings should be applied with "extreme           liberality."   See U.S.   v. Webb, 655F.2d

977   ,979 (9th Cir. 1981). "Unless   a   substantial reason exists to deny leave to amend, the discretion

of the District Court is not broad enough to permit denial." Fla. Evergreen Foliage v. E.I. DuPont

De Nemours & Co.,470F.3d 1036, 1041 (1lth Cir. 2006). A substantial reason only exists for

denying leave to amend: "(1) where there has been undue delay, bad faith, dilatory motive, or

repeated failure   to cure deficiencies by amendments previously allowed; (2) where allowing

amendment would cause undue prejudice to the opposing party; or (3) where amendment would

befutile." Bryantv. Dupree,252F.3d 1161, 1163 (11thCir.2001). No suchreasons existhere.

         The State Defendants cannot show any of the factors from Bryanr to be present in the case

atbar. As outlined above, nothing in Rule 15 which would preclude the requested amendment. In

fact, to the contrary, Rule 15 encourages the liberal amendment of pleadings. As such, the instant

motion should be granted in light of Rule 15.


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    D.)       Plaintiff moves this Court for leave to amend the FAC to add Warden Yordy and
              IDOC as party-defendants for his claim of negligent retention, training, and
              supervision.

         The FAC only asserts its third cause       of action for negligent retention, training,   and

supervision against Defendants Corizon, Migliori, and         Agler. FAC at ln52-6L With           this

memorandum and its accompanying motion, Plaintiff moves this Court for leave to amend the

FAC to also include Warden Yordy and IDOC as party-defendants in this claim. As outlined in

$il.C., supra, the amendment of pleadings should be liberally granted. At this stage of the case

subiudice, Plaintiff now seeks to assert against all Defendants, including the State Defendants (i.e.

Warden Yordy and IDOC), that Plaintiff s damages, including the loss of his left leg, resulted, at

least   in part, from the State Defendants' failure to select and retain an appropriate, medical

contractor at the Idaho State Correctional Institution ("ISCI") and the State Defendants' failure to

properly monitor and supervise the contract which it did enter with the Corizon Defendants for the

provision of medical services at ISCI. Both of these failures resulted in the frequent, unreasonable

denial andlor delay of medical care to inmates, including Plaintiff, which amounted to deliberate

indifference to the inmates' medical needs, including Plaintiff. In light of the liberality of

amendments under I.R.C.P. 15,      Plaintiff submits that he should be granted leave of this Court to

assert his   third cause of action in the FAC against the State Defendants.



                                        ru.)   CONCLUSION

         Based on the foregoing arguments and authorities, Plaintiff respectfully requests this Court

to deny the instant motion relative to the $1983 claim pled against Warden Yordy in his individual

capacity. Further, with this filing, Plaintiff respectfully requests this Court to grant leave to amend

the FAC to assert additional allegations against Warden    Yordy relative to the $1983 claim, should


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this Court find the pleading deficient in this regard, and to assert claims of negligent retention,

trainingo and supervision.




       DATED: This l6thdayof July,2018.


       JOHNSON & MONTELEONE, L.L.P.

       /s/ Jason R.N.        eone
       Jason R.N. Monteleone
       Attorneys for Plaintiff/Plaintiff




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     CERTIFICATE OF MAILING, DELIVERY, OR FACSIMILE TRANSMISSION

         I CERTIFY that, on July 16,2018, I caused a true and correct copy of the foregoing
document to be:

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